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                             EXHIBIT 5
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                                   Huang Xiangjiang
                                     May 31, 2023

  · · · · · · · · · UNITED STATES DISTRICT COURT
  · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
  ·
  · · · · · · · ·CASE NO. 21-60125-CIV-SCOLA/GOODMAN
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  · · ·JIANGMEN BENLIDA PRINTED
  · · ·CIRCUIT CO., LTD.,
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  · · · · · · · ·Plaintiff,
  ·
  · · · · · vs.
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  · · ·CIRCUITRONIX, LLC,
  ·
  · · · · · · · ·Defendant.
  · · ·________________________________/

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  · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
  · · · · · · · · ·DEPOSITION OF HUANG XIANGJIANG

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  · · · · · · · · · · ·Wednesday, May 31, 2023
  · · · · · · ·One Southeast Third Avenue, Suite 2300
  · · · · · · · · · · · Miami, Florida· 33131
  · · · · · · · · · · · 9:41 a.m. - 7:43 p.m.
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  · · · · · · · · · Stenographically Reported By:
  · · · · · · · · · · · · ·LAUREL A. MAZUR
  · · · · · · · · · Florida Professional Reporter

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                                   Huang Xiangjiang
                                     May 31, 2023

  ·1· · · · Q· · From what company did you purchase Benlida--

  ·2· ·insurance?

  ·3· · · · A· · Well, the only insurance company is the Zhong

  ·4· ·Xin Bao.

  ·5· · · · Q· · Zhong Xin Bao is sometimes known as Sinosure,

  ·6· ·did you know that?

  ·7· · · · A· · I don't understand Sinosure.

  ·8· · · · Q· · I will use Zhong Xin Bao as the term when I

  ·9· ·speak about this.

  10· · · · · · ·When you were actively managing Benlida up

  11· ·until 2008, did Benlida purchase an insurance policy

  12· ·from Zhong Xin Bao?

  13· · · · A· · Well, in my memory I don't quite remember if

  14· ·we purchased insurance, because it's been a long time.

  15· · · · Q· · What is the purpose of the insurance from

  16· ·Zhong Xin Bao for a company like Benlida?

  17· · · · · · ·THE INTERPRETER:· Can I hear the question

  18· · · · again please?

  19· ·BY MR. ROSENTHAL:

  20· · · · Q· · What is the purpose of insurance from Zhong

  21· ·Xin Bao for a company like Benlida?

  22· · · · A· · So when we cannot collect money, that is when

  23· ·we can -- it provides coverage.

  24· · · · Q· · In other words, when you cannot collect money

  25· ·from a customer, the insurance policy provides coverage


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  ·1· ·that protects Benlida?

  ·2· · · · A· · Well, after some very strict verification

  ·3· ·process from Zhong Xin Bao, in the process it involves

  ·4· ·some verification of the shipment.

  ·5· · · · Q· · Is there some type of a limit to the amount

  ·6· ·that you can purchase, the coverage limit?

  ·7· · · · A· · Well, I don't know the system that the

  ·8· ·company -- that they use to know about a business

  ·9· ·credit information.· After they obtain the credit

  10· ·information, they provide a limit for the coverage.

  11· · · · Q· · And is that limit that Zhong Xin Bao provides

  12· ·specific to the customer?

  13· · · · · · ·THE INTERPRETER:· I am not sure if I

  14· · · · understand the answer.· Should I clarify with him?

  15· · · · · · ·MR. ROSENTHAL:· Why don't you just translate

  16· · · · the answer and I will follow up.

  17· · · · · · ·THE INTERPRETER:· "The US currency, sometimes

  18· · · · in renminbi."· That is what he mentioned.

  19· · · · · · ·MR. ROSENTHAL:· Can you read back the

  20· · · · question that I asked him?

  21· · · · · · ·(The pending question is read

  22· · · · · · · back by the court reporter.)

  23· · · · · · ·THE WITNESS:· I don't think so.· I know that

  24· · · · we have to apply for the coverage, and then after

  25· · · · the verification and then application would be


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  ·1· · · · approved or not.

  ·2· ·BY MR. ROSENTHAL:

  ·3· · · · Q· · Do you recall whether or not Benlida ever got

  ·4· ·approval from Zhong Xin Bao for a credit limit for CTX?

  ·5· · · · A· · Yes.

  ·6· · · · Q· · Do you have any recollection about what year

  ·7· ·that was roughly?

  ·8· · · · A· · I don't remember.

  ·9· · · · Q· · There was a time when CTX was the biggest

  10· ·customer of Benlida, correct?

  11· · · · A· · Well, I am not -- I don't know, because I

  12· ·don't get involved with the business operation and that

  13· ·I am not -- I don't know the order situation from the

  14· ·client.

  15· · · · Q· · Would you agree that CTX was a big customer

  16· ·of Benlida?

  17· · · · A· · Somewhat it has been.

  18· · · · Q· · And whenever it was that Benlida purchased

  19· ·insurance from Zhong Xin Bao for CTX, did Benlida have

  20· ·that insurance in place for a period of years?

  21· · · · A· · I don't know how many years.

  22· · · · Q· · But was it at least more than one year?

  23· · · · A· · Yes, more than one year.

  24· · · · Q· · Was it more than two years?

  25· · · · A· · More than two years.


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  ·1· · · · Q· · Do you remember if it was more than three

  ·2· ·years?

  ·3· · · · A· · More than three years.

  ·4· · · · Q· · Okay.· More than four years?

  ·5· · · · A· · I don't know how many years.· It could be

  ·6· ·maybe five -- four years, maybe five years.

  ·7· · · · Q· · So probably three to five years?

  ·8· · · · A· · I don't remember exactly.

  ·9· · · · Q· · Okay.· Let me ask you a general question not

  10· ·specific to CTX.· What does Zhong Xin Bao monitor about

  11· ·the ongoing business with a customer which it has

  12· ·insurance for?

  13· · · · · · ·MR. LERNER:· Objection.

  14· · · · · · ·THE WITNESS:· I don't quite know.

  15· ·BY MR. ROSENTHAL:

  16· · · · Q· · Do you know that there were certain reporting

  17· ·requirements that Benlida had to make to Zhong Xin Bao?

  18· · · · A· · I am not sure about that.

  19· · · · Q· · Do you know whether the policies with Zhong

  20· ·Xin Bao had a deadline by which customers had to make

  21· ·their payments for shipments?

  22· · · · · · ·THE INTERPRETER:· Can I hear the question

  23· · · · again please?

  24· · · · · · ·(The pending question is read

  25· · · · · · · back by the court reporter.)


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